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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                    :
STEPHEN BUSHANSKY,
                                                    :
                                                        Case No. ______________
                      Plaintiff,                    :
                                                    :   COMPLAINT FOR VIOLATIONS OF
                vs.                                     THE FEDERAL SECURITIES LAWS
                                     :
AVEDRO, INC., JONATHAN SILVERSTEIN,
DONALD J. ZURBAY, GARHENG KONG,      :                  JURY TRIAL DEMANDED
HONGBO LU, REZA ZADNO, and ROBERT J.
                                     :
PALMISANO,
                                     :
               Defendants.
                                     :



       Plaintiff Stephen Bushansky (“Plaintiff”), by and through his undersigned counsel, for his

complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                         NATURE AND SUMMARY OF THE ACTION

       1.       Plaintiff brings this action against Avedro, Inc. (“Avedro” or the “Company”) and

the members of Avedro’s Board of Directors (the “Board” or the “Individual Defendants”) for

their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange Commission (“SEC”) Rule

14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a proposed transaction, pursuant to which

Avedro will be acquired by Glaukos Corporation (“Glaukos”) and Glaukos’ wholly owned

subsidiary Atlantic Merger Sub, Inc (“Merger Sub”) (the “Proposed Transaction”).
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       2.       On August 7, 2019, Avedro and Glaukos issued a joint press release announcing

that they had entered into an Agreement and Plan of Merger dated August 7, 2019 (the “Merger

Agreement”) to sell Avedro to Glaukos. Under the terms of the Merger Agreement, each Avedro

stockholder will receive a fixed exchange ratio of 0.365 shares of Glaukos common stock for each

share of Avedro common stock they own (the “Merger Consideration”). Based on Glaukos

stock’s August 6, 2019 closing price, the Merger Consideration is valued at approximately $27.86

per share. Upon completion of the Proposed Transaction, Glaukos shareholders will own

approximately 85% of the combined company, and Avedro stockholders will own approximately

15%.

       3.       On October 17, 2019, Avedro filed a Schedule 14A Definitive Proxy Statement (the

“Proxy Statement”) with the SEC.         The Proxy Statement, which recommends that Avedro

stockholders vote in favor of the Proposed Transaction, omits or misrepresents material

information concerning, among other things: (i) Avedro’s and Glaukos’ financial projections,

relied upon by the Company’s financial advisor, Guggenheim Securities, LLC (“Guggenheim”),

in its financial analyses; (ii) the inputs and assumptions underlying the financial valuation analyses

that support the fairness opinion provided by Guggenheim; and (iii) Guggenheim’s and Company

insiders’ potential conflicts of interest. Defendants authorized the issuance of the false and

misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the Exchange Act.

       4.       In short, unless remedied, Avedro’s public stockholders will be irreparably harmed

because the Proxy Statement’s material misrepresentations and omissions prevent them from

making a sufficiently informed voting decision on the Proposed Transaction. Plaintiff seeks to

enjoin the stockholder vote on the Proposed Transaction unless and until such Exchange Act

violations are cured.




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                                  JURISDICTION AND VENUE

        5.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

        6.       This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

        7.       Venue is proper under 28 U.S.C. § 1391 because defendants are found or

inhabitants or transact business in this District. Avedro’s common stock trades on the NASDAQ

Global Select Market, which is headquartered in this District, rendering venue in this District

appropriate.

                                           THE PARTIES

        8.       Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

Avedro.

        9.       Defendant Avedro is a Delaware corporation, with its principal executive offices

located at 201 Jones Road, Waltham, Massachusetts 02451. The Company is a leading hybrid

ophthalmic pharmaceutical and medical technology company focused on treating corneal disease

and disorders and improving vision to reduce dependency on eyeglasses or contact lens. Avedro’s

common stock trades on the NASDAQ Global Select Market under the ticker symbol “AVDR.”

        10.      Defendant Jonathan Silverstein (“Silverstein”) has been a director of the Company

since November 2015.




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       11.    Defendant Donald J. Zurbay (“Zurbay”) has been a director of the Company since

September 2017.

       12.    Defendant Garheng Kong (“Kong”) has been a director of the Company since 2018.

       13.    Defendant Hongbo Lu (“Lu”) has been a director of the Company since May 2018.

       14.    Defendant Reza Zadno (“Zadno”) has been Avedro’s President and Chief

Executive Officer (“CEO”) and a director of the Company since September 2016.

       15.    Defendant Robert J. Palmisano (“Palmisano”) has been a director of the Company

since May 2014 and Chairman of the Board since January 2019.

       16.    Defendants identified in paragraphs 10-15 are referred to herein as the “Board” or

the “Individual Defendants.”

                                RELEVANT NON-PARTIES

       17.    Glaukos is a Delaware corporation with its principal executive offices located at

229 Avenida Fabricante, San Clemente, California 92672. Glaukos is an ophthalmic medical

technology and pharmaceutical company focused on the development and commercialization of

novel therapies designed to treat glaucoma, corneal disorders and retinal diseases. Glaukos’

common stock trades on the New York Stock Exchange under the ticker symbol “GKOS.”

       18.    Merger Sub is a Delaware corporation and wholly owned subsidiary of Glaukos.

       19.    Gil Kliman (“Kliman”) was a director of the Company from November 2015 until

his resignation on August 6, 2019, in connection with the Proposed Transaction. Defendant

Kliman also served as a director of Glaukos from 2007 until his resignation on August 6, 2019, in

connection with the Proposed Transaction

       20.    Thomas W. Burns (“Burns”) was a director of the Company from July 2018 until

his resignation on August 6, 2019, in connection with the Proposed Transaction. Defendant Burns

has also been CEO and a director of Glaukos since 2002.



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                                SUBSTANTIVE ALLEGATIONS

Background of the Company

        21.      Avedro is an ophthalmic pharmaceutical and medical device company that

develops and commercializes products to treat ophthalmic disorders and conditions, primarily

associated with corneal weakness.       The Company’s Avedro Corneal Remodeling platform

comprises KXL and Mosaic systems, which deliver ultraviolet A or UVA light, and a suite of

single-use riboflavin drug formulations.

        22.      Avedro’s KXL system in combination with its Photrexa drug formulations, which

it launched in the United States in September 2016, is the first and only minimally invasive product

offering approved by the U.S. Food and Drug Administration (“FDA”), indicated for the treatment

of progressive keratoconus and corneal ectasia following refractive surgery. Additionally, the

FDA granted Avedro orphan drug designations and it has orphan drug exclusivity until 2023 that

covers its Photrexa formulations used with its KXL system for its approved indications. Avedro’s

Mosaic system is capable of performing vision correction procedures and treating corneal ectatic

disorders.

        23.      Avedro has obtained a Conformité Européene (“CE”) mark for its Mosaic system,

which allows it to be marketed throughout the European Union. Avedro plans to seek FDA

approval for its Mosaic system and its associated drug formulations for the treatment of presbyopia

as an initial targeted indication.

        24.      Avedro sells its products primarily to ophthalmologists, hospitals, and ambulatory

surgery centers through a direct sales force in the United States, as well as through medical device

distributors internationally.

        25.      Avedro completed its initial public offering (“IPO”) in February 2019. On May 9,

2019, Avedro announced its first quarter 2019 financial results. The Company reported revenue



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of $8.8 million, a 70% increase over the first quarter of 2018. Avedro’s gross margin was 74.0%

for the first quarter of 2019, as compared to 49.2% in the first quarter of 2018. Defendant Zadno

commented on the results, stating:

       We are pleased with our first quarter performance which reflects strong customer
       adoption of our sight-preserving cross-linking technology, revenue growth and a
       solid increase in gross margin. With the recent implementation of the product-
       specific J Code for our Photrexa formulations, customers are now experiencing
       fewer drug-related reimbursement inquiries from the payors . . . . Through
       investments in our commercial and reimbursement teams and pipeline of next-
       generation products, we are well positioned to drive meaningful top-line growth
       and continued margin expansion throughout 2019 and beyond.

The Proposed Transaction

       26.     On August 7, 2019, Avedro and Glaukos issued a joint press release announcing

the Proposed Transaction. The press release states, in relevant part:

       SAN CLEMENTE, Calif.--Aug. 7, 2019-- Glaukos Corporation (NYSE: GKOS),
       an ophthalmic medical technology and pharmaceutical company focused on novel
       therapies for the treatment of glaucoma, corneal disorders and retinal diseases,
       and Avedro, Inc. (Nasdaq: AVDR), a leading hybrid ophthalmic pharmaceutical
       and medical technology company focused on treating corneal disease and disorders,
       today announced that the companies have entered into a definitive merger
       agreement under which Glaukos will acquire Avedro in an all-stock transaction.
       The transaction, which is subject to Avedro stockholder approval along with other
       customary closing conditions and regulatory approvals, has been approved by the
       board of directors of both companies and is expected to be completed in the fourth
       quarter of 2019.

       The acquisition combines two complementary, hybrid ophthalmic pharmaceutical
       and device organizations and establishes the cornerstone for Glaukos’ new corneal
       health franchise, providing synergistic avenues for potential long-term growth in
       large, underserved markets. Glaukos plans to leverage its proven market-building
       expertise, global commercial scale and extensive clinical and regulatory
       infrastructure to maximize Avedro’s disruptive bio-activated pharmaceuticals and
       pipeline. The transaction also expands Glaukos’ R&D capabilities and is expected
       to strengthen multiple corneal health and vision correction development initiatives
       now underway across both organizations.

       “Avedro is an ideal fit for Glaukos’ core strengths in creating and disrupting
       ophthalmic markets with novel therapies that address important unmet clinical
       needs of practitioners and patients,” said Thomas Burns, Glaukos president and
       chief executive officer. “Avedro has in place many of the same strategic



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attributes Glaukos used to pioneer MIGS, including proprietary paradigm-
changing solutions, extensive clinical validation, broad reimbursement and first-to-
market status. Our combined organizations can possess the essential expertise, scale
and reach to maximize these opportunities, drive further commercialization of
Avedro’s bio-activated pharmaceuticals and establish another synergistic and
durable Glaukos franchise to fuel potential near- and long-term growth and
shareholder value.”

Avedro’s platform uses its proprietary, bio-activated, single-use Photrexa® drug
formulations to strengthen corneal tissue and halt progression of keratoconus, a
degenerative corneal ectatic disease that affects approximately 1.1 million eyes
in the United States. Typically diagnosed in a patient’s teenage years, keratoconus
is characterized by progressive thinning and weakening of the cornea, resulting in
vision loss. Approximately 90% of cases are bilateral and as many as 20% of
patients ultimately require a corneal transplant. Conventional treatments address
symptoms but the Avedro platform is the first and only FDA-approved therapy that
can stop disease progression. Avedro estimates the total U.S. opportunity for its
keratoconus therapy to be approximately $3 billion.

Avedro has also developed a pipeline of novel single application bio-activated
topical ophthalmic pharmaceuticals for common refractive conditions, including
presbyopia, low myopia and post-cataract refractive error, which are estimated to
have a combined U.S. addressable opportunity of approximately $23 billion.

“Avedro is extremely pleased with the potential to become part of Glaukos, a
highly-respected ophthalmic organization with a successful track record forging
new markets with disruptive technologies like our keratoconus pharmaceutical
therapies,” said Reza Zadno, Avedro president and chief executive officer.

“Glaukos already has deep customer relationships with the majority of our target
accounts, and a large, seasoned field organization that can unite with our team to
accelerate awareness, adoption and utilization of our novel platform. In
addition, Glaukos will bring its extensive clinical and regulatory resources to bear
to help advance our promising pipeline therapies. I believe this transaction can
benefit customers, employees and patients, while creating value for shareholders
through ownership in a combined company with the expertise, scale and resources
to drive meaningful future growth."

Key strategic and financial benefits of the transaction include:

•    Avedro fits perfectly with Glaukos’ commercial organization: Roughly 700
     of Avedro target accounts are comprehensive ophthalmic practices
     where Glaukos maintains deep relationships. In addition, the Avedro platform
     can benefit from a 5-fold increase in the size of its current 17-person U.S. field
     sales organization.




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       •     Avedro can accelerate Glaukos’ growth trajectory: Avedro generated 66%
             year-over-year revenue growth in the first half of 2019. Once combined, the
             addition of Avedro’s fast-growing product portfolio is expected to generate
             revenue growth acceleration for Glaukos beginning in 2020 and potential
             revenue synergies beginning in 2021.
       •     Furthers Glaukos’ hybrid strategy: Avedro and Glaukos have similar and
             complementary hybrid pharmaceutical and device profiles that can combine to
             create a unique set of R&D, clinical, regulatory and commercial capabilities
             with the potential to enhance organizational success.
       •     Enhances organic pipeline initiatives and R&D teams: The combined R&D
             and clinical organization can provide Glaukos with scale and a unique blend of
             integrated expertise across ophthalmic pharmaceuticals, drug delivery, micro-
             scale engineering, and hardware and software development.In addition, an
             expanded pipeline can provide new opportunities to extend leadership positions
             in high-growth ophthalmic markets.
       •     Provides attractive financial benefits and potential shareholder value
             creation: In addition to the potential for accelerated revenue
             growth, Glaukos anticipates achieving annualized cost savings in excess of $15
             million by 2021, primarily through reduced public company and administrative
             costs. As such, the company expects the transaction to be accretive to operating
             results and cash flow by 2021.

       Transaction Terms and Approvals

       Under the terms of the merger agreement, for each share of Avedro common stock
       they own, Avedro shareholders will receive an exchange ratio equivalent of 0.365
       shares of Glaukos stock.

       Based on the parties’ volume weighted average prices (“VWAPs”) for the last 60
       trading days prior to August 6, 2019, the transaction represents a 42% premium
       for Avedro shareholders. Upon closing, Glaukos shareholders are expected to own
       approximately 85% of the combined company, with Avedro shareholders expected
       to own the remaining 15%.

       The transaction is subject to customary closing conditions and regulatory
       approvals, including approval of the merger by stockholders of Avedro. Certain
       shareholders of Avedro, including OrbiMed, HealthQuest and LAV Agile, which
       collectively own approximately 41% of the outstanding shares of Avedro common
       stock, have entered into voting agreements to vote in favor of the transaction.

The Proxy Statement Contains Material Misstatements or Omissions

       27.      Defendants filed a materially incomplete and misleading Proxy Statement with the

SEC and disseminated it to Avedro’s stockholders. The Proxy Statement misrepresents or omits




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material information that is necessary for the Company’s stockholders to make an informed

decision whether to vote in favor of the Proposed Transaction.

       28.      Specifically, as set forth below, the Proxy Statement fails to provide Company

stockholders with material information or provides them with materially misleading information

concerning: (i) Avedro’s and Glaukos’ financial projections, relied upon by the Company’s

financial advisor, Guggenheim, in its financial analyses; (ii) the inputs and assumptions underlying

the financial valuation analyses that support the fairness opinion provided by Guggenheim; and

(iii) Guggenheim’s and Company insiders’ potential conflicts of interest.

Material Omissions Concerning Avedro’s and Glaukos’ Financial Projections

       29.      The Proxy Statement omits material information regarding the Company’s

financial projections provided by Avedro’s management and relied upon by Guggenheim for its

analyses.

       30.      For example, the Proxy Statement sets forth, “Avedro management provided

Guggenheim Securities an assumed 30%-40% probability of success to commercialize Avedro

pipeline products, including PiXL for refractive vision correction (e.g. presbyopia) for purposes

of conducting its financial analysis (the “Avedro Probability of Success Adjusted Pipeline

Projections”).” Proxy Statement at 89. Similarly, the Proxy Statement sets forth that, “Avedro

management provided Guggenheim Securities probabilities of success to commercialize the

Glaukos pipeline products (Supra: 50%; Infinite: 80%-90%; and MicroShunt: 80%-90%) for

purposes of conducting its financial analysis (the “Glaukos Probability of Success Adjusted Base

Projections Prepared by Avedro Management”). Id. at 91. Additionally, the Proxy Statement sets

forth that, “Avedro management provided Guggenheim Securities probabilities of success to

commercialize Glaukos pipeline products (iDose: 50%-60% and iStent SA: 50%-60%) for




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purposes of conducting its financial analysis (the “Glaukos Probability of Success Adjusted

Pipeline Projections Prepared by Avedro Management”).” Id.

       31.     Yet, the Proxy Statement fails to disclose the Avedro Probability of Success

Adjusted Pipeline Projections, the Glaukos Probability of Success Adjusted Base Projections

Prepared by Avedro Management, and the Glaukos Probability of Success Adjusted Pipeline

Projections Prepared by Avedro Management, prepared by Avedro management and utilized by

Guggenheim in its financial analyses.

       32.     Moreover, in connection with Guggenheim’s Avedro Discounted Cash Flow

Analyses (“DCF”), the Proxy Statement sets forth:

       Guggenheim Securities performed a stand-alone discounted cash flow analysis of
       Avedro based on projected, risk-adjusted, after-tax unlevered free cash flows (after
       deduction of stock-based compensation) and an estimate of the terminal/continuing
       value at the end of the projection horizon in two components: (i) the Avedro Base
       Projections (the “Avedro Base Business DCF” and (ii) the Avedro Probability of
       Success Adjusted Pipeline Projections (the “Avedro Probability of Success
       Adjusted Pipeline DCF”).

                                               ***

       In calculating Avedro’s terminal/continuing value for purposes of its discounted
       cash flow analysis, Guggenheim Securities used a perpetual growth rate range of
       2.0% – 3.0%. Guggenheim Securities applied a two-stage methodology to calculate
       the terminal value of each of the Avedro Base Business DCF and the Avedro
       Probability of Success Adjusted Pipeline DCF, which was discussed with Avedro’s
       senior management. For the Avedro Base Business DCF, during the first stage of
       the terminal value, free cash flow growth decelerates linearly to the assumed
       perpetuity growth rate by 2030, and thereafter the perpetuity growth rate is applied.
       For the Avedro Probability of Success Adjusted Pipeline DCF, during the first stage
       of the terminal value, free cash flow growth decelerates linearly to the assumed
       perpetuity growth rate by 2034, and thereafter perpetuity growth is applied.

Id. at 78-79. The Proxy Statement, however, fails to set forth: (i) the Avedro Probability of Success

Adjusted Pipeline unlevered free cash flows (“UFCFs”); (ii) the Avedro Base Business UFCF for




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2030; and (iii) the Avedro Probability of Success Adjusted Pipeline UFCF for 2034, utilized by

Guggenheim in its Avedro DCF.

         33.    Further, in connection with Guggenheim’s Glaukos DCF, the Proxy Statement sets

forth:

         Guggenheim Securities performed a stand-alone discounted cash flow analysis of
         Glaukos based on projected, risk-adjusted, after-tax unlevered free cash flows (after
         deduction of stock-based compensation) and an estimate of the terminal/continuing
         value at the end of the projection horizon in two components: (i) the Glaukos
         Probability of Success Adjusted Base Projections Prepared by Avedro Management
         (the “Glaukos Probability of Success Adjusted Base Business DCF”) and (ii) the
         Glaukos Probability of Success Adjusted Pipeline Projections Prepared by Avedro
         Management (the “Glaukos Probability of Success Adjusted Pipeline DCF”). The
         discounted cash flow analysis for each component is based on projected, risk-
         adjusted, after-tax unlevered free cash flows (after deduction of stock-based
         compensation) and an estimate of the terminal/continuing value at the end of the
         projection horizon.

                                                ***

         In calculating Glaukos’ terminal/continuing value for purposes of its discounted
         cash flow analysis, Guggenheim Securities used a perpetual growth rate range of
         2.0% – 3.0%. Guggenheim Securities applied a two-stage methodology to calculate
         terminal value of each of the Glaukos Probability of Success Adjusted Base
         Business DCF and the Glaukos Probability of Success Adjusted Pipeline DCF,
         which was discussed with Avedro’s senior management. For each of the Glaukos
         Probability of Success Adjusted Base Business DCF and the Glaukos Probability
         of Success Adjusted Pipeline DCF, during the first stage of the terminal value, free
         cash flow growth decelerates linearly to the assumed perpetuity growth rate by
         2035, and thereafter the perpetuity growth rate is applied.

Id. at 81-82. Yet, the Proxy Statement fails to disclose: (i) the Glaukos Probability of Success

Adjusted Base Business UFCFs; (ii) the Glaukos Probability of Success Adjusted Pipeline UFCFs;

and (iii) the 2035 UFCF for each of these two projection sets, utilized by Guggenheim in its

Glaukos DCF.




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       34.     The omission of this information renders the statements in the “Certain Information

Provided by the Parties” and “Opinion of Financial Advisor to Avedro” sections of the Proxy

Statement false and/or materially misleading in contravention of the Exchange Act.

Material Omissions Concerning Guggenheim’s Financial Analyses
       35.     The Proxy Statement describes Guggenheim’s fairness opinion and the various

valuation analyses performed in support of its opinion. However, the description of Guggenheim’s

fairness opinion and analyses fails to include key inputs and assumptions underlying these

analyses. Without this information, as described below, Avedro’s public stockholders are unable

to fully understand these analyses and, thus, are unable to determine what weight, if any, to place

on Guggenheim’s fairness opinion in determining whether to vote in favor of the Proposed

Transaction.

       36.     With respect to Guggenheim’s Avedro DCF, the Proxy Statement fails to disclose:

(i) the Avedro Base Business UFCF for year 2030 and the Avedro Probability of Success Adjusted

Pipeline UFCFs, including year 2034, utilized by Guggenheim in the analysis; (ii) the terminal values

for the Company; and (iii) quantification of the inputs and assumptions underlying the discount rates

ranging from 12.25% to 14.75%.

       37.     With respect to Guggenheim’s Glaukos DCF, the Proxy Statement fails to disclose:

(i) the Glaukos Probability of Success Adjusted Base Business UFCFs, including for year 2035

and the Glaukos Probability of Success Adjusted Pipeline UFCFs, including for year 2035, utilized

by Guggenheim in the analysis; (ii) the terminal values for Glaukos; and (iii) quantification of the

inputs and assumptions underlying the discount rate range of 9.25% to 12.25%.

       38.     With respect to Guggenheim’s PF Synergized DCF, the Proxy Statement fails to

disclose: (i) the terminal values for the pro forma company; and (ii) quantification of the inputs

and assumptions underlying the discount range of 9.75% to 12.25%.



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       39.     With respect to Guggenheim’s Avedro’s and Glaukos’ Wall Street Equity Research

Analyst Stock Price Targets analysis, the Proxy Statement fails to disclose the individual price

targets observed by Guggenheim in the analyses and the sources thereof.

       40.     With respect to Guggenheim’s Precedent One-Day Stock Price Premiums analysis,

the Proxy Statement fails to disclose the individual premiums for the transactions observed by

Guggenheim in the analysis.

       41.     Without such undisclosed information, Avedro stockholders cannot evaluate for

themselves whether the financial analyses performed by Guggenheim were based on reliable

inputs and assumptions or whether they were prepared with an eye toward ensuring that a positive

fairness opinion could be rendered in connection with the Proposed Transaction. In other words,

full disclosure of the omissions identified above is required in order to ensure that stockholders

can fully evaluate the extent to which Guggenheim’s opinion and analyses should factor into their

decision whether to vote in favor of or against the Proposed Transaction.

       42.     The omission of this information renders the statements in the “Opinion of

Financial Advisor to Avedro” and “Certain Information Provided by the Parties” sections of the

Proxy Statement false and/or materially misleading in contravention of the Exchange Act.

Material Omissions Concerning Guggenheim’s and Company Insiders’ Potential Conflicts of
Interest

       43.     The Proxy Statement fails to disclose material information concerning potential

conflicts of interest faced by the Company’s financial advisor Guggenheim.

       44.     For example, the Proxy Statement sets forth that:

       During the two years prior to the rendering of its opinion, Guggenheim Securities
       has been engaged by Avedro to provide financial advisory and other investment
       banking services in connection with matters unrelated to the Merger, for which
       Guggenheim Securities has received customary fees. Specifically during the past
       two years, Guggenheim Securities acted as underwriter and co-manager in




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        connection with Avedro’s IPO. Guggenheim Securities has not been engaged
        during the past two years by Glaukos to provide financial advisory or investment
        banking services for which Guggenheim Securities received fees. As previously
        disclosed to the Avedro Board, however, during the past two years, Guggenheim
        Securities received certain confidential information of Glaukos pursuant to a
        confidentiality agreement with Glaukos and presented to the Glaukos Board certain
        financial analyses which are unrelated to Avedro and the Merger. Guggenheim
        Securities may provide Avedro, Glaukos and their respective affiliates with
        financial advisory and investment banking services unrelated to the Merger in the
        future, for which services Guggenheim Securities would expect to receive
        compensation.

Id. at 85.

        45.      However, the Proxy Statement fails to disclose the fees Guggenheim received from

Avedro for acting as underwriter and co-manager in connection with Avedro’s IPO, as well as any

other services Guggenheim performed for Avedro and the compensation received in connection

with such services. The Proxy Statement further fails to identify when in the past two years

Guggenheim received certain confidential information from Glaukos and presented financial

analyses to the Glaukos board.

        46.      Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

        47.      The Proxy Statement also omits material information concerning Company

insiders’ potential conflicts of interest.

        48.      The Proxy Statement sets forth, “Glaukos and Avedro have commenced an

integration planning process to determine the employment status of Avedro’s executive officers

following the Effective Time. Additional decisions regarding these individuals are expected to be

made closer to, or after, the closing of the Merger.” Id. at 95. Yet, the Proxy Statement fails to

disclose the details of any employment and retention-related discussions and negotiations that




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occurred between Glaukos and Avedro’s executive officers, including who participated in all such

communications, when they occurred and their content. The Proxy Statement further fails to

disclose whether any of Glaukos’ prior proposals or indications of interest mentioned management

retention with the combined company

       49.     Communications regarding post-transaction employment and merger-related

benefits during the negotiation of the underlying transaction must be disclosed to stockholders.

This information is necessary for stockholders to understand potential conflicts of interest of

management and the Board, as that information provides illumination concerning motivations that

would prevent fiduciaries from acting solely in the best interests of the Company’s stockholders.

       50.     The omission of this information renders the statements in the “Opinion of

Financial Advisor to Avedro,” “Background of the Merger,” and “Interests of Certain Persons in

the Merger” sections of the Proxy Statement false and/or materially misleading in contravention

of the Exchange Act.

       51.     The Individual Defendants were aware of their duty to disclose this information

and acted negligently (if not deliberately) in failing to include this information in the Proxy

Statement. Absent disclosure of the foregoing material information prior to the stockholder vote

on the Proposed Transaction, Plaintiff and the other Avedro stockholders will be unable to make

an informed decision whether to vote in favor of the Proposed Transaction and are thus threatened

with irreparable harm warranting the injunctive relief sought herein.


                                     CLAIMS FOR RELIEF

                                              COUNT I

                 Against All Defendants for Violations of Section 14(a) of the
                  Exchange Act and Rule 14a-9 Promulgated Thereunder

       52.     Plaintiff repeats all previous allegations as if set forth in full.



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       53.     During the relevant period, defendants disseminated the false and misleading Proxy

Statement specified above, which failed to disclose material facts necessary to make the

statements, in light of the circumstances under which they were made, not misleading in violation

of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

       54.     By virtue of their positions within the Company, the defendants were aware of this

information and of their duty to disclose this information in the Proxy Statement. The Proxy

Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented

and/or omitted material facts, including material information about the financial projections

utilized by the Company’s financial advisor in connection with its financial analyses, the financial

analyses performed by the Company’s financial advisor, and potential conflicts of interest faced

by Company insiders and the Company’s financial advisor. The defendants were at least negligent

in filing the Proxy Statement with these materially false and misleading statements.

       55.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder would consider them important in deciding how to vote

on the Proposed Transaction.

       56.     By reason of the foregoing, the defendants have violated Section 14(a) of the

Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

       57.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive

relief is appropriate to ensure defendants’ misconduct is corrected.

                                             COUNT II

   Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act

       58.     Plaintiff repeats all previous allegations as if set forth in full.




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       59.     The Individual Defendants acted as controlling persons of Avedro within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Avedro, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy Statement

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

       60.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       61.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were, thus, directly involved in the making of the Proxy Statement.

       62.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that

they reviewed and considered—descriptions the Company directors had input into.

       63.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.




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       64.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in his favor, and against defendants, as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

               concert with them from proceeding with, consummating, or closing the Proposed

               Transaction and any vote on the Proposed Transaction, unless and until defendants

               disclose and disseminate the material information identified above to Avedro

               stockholders;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

               setting it aside or awarding rescissory damages to Plaintiff;

       C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

               as well as SEC Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

               Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.




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                                      JURY DEMAND

     Plaintiff demands a trial by jury.

Dated: October 29, 2019                            WEISSLAW LLP

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